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                       Exhibit 30
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                                                                          Division of Labor Standards and Statistics
                                                                          633 17th Street, Suite 600
                                                                          Denver, CO 80202-2701
                                                                          303-318-8060


                                      Notice Regarding Opinion/Exemption Letters

       Years ago, in response to inquiries from private parties about labor law (mostly wage law), this Division
occasionally responded with letters variously called “opinion letters” or “exemption letters.” Some opinion/exemption
letters declared recipients exempt from Colorado wage laws that otherwise applied to them. Others offered opinions
about various matters, including whether recipients qualified for wage law exemptions. The Division has not issued
such letters for over five years; some are a decade or two old. But they typically included no expiration dates, and they
were neither posted publicly nor disclosed to other parties; most were requested by an attorney for the interested party,
then sent only to that attorney. Consequently, old letters are being cited as still reflecting Division views, including in
wage disputes in which opposing parties never knew of the letters. Given this confusion, the Division needs to offer
clarity not only about these letters, but also about the services it offers Coloradans seeking labor law guidance.

       1.    Some opinion/exemption opined that the recipient warrants a new exemption from an applicable wage law.
Recipients likely found those letters to be informative opinions on whether the Division might see merit in changing
its wage rules, or advocating legislative change, to exempt parties like them. But those letters were not binding grants
of exemptions with legal effect. The laws of Colorado are contained in Colorado’s constitution, statutes, and
regulations. Any change to a law requires the extensive notice and opportunity to be heard that Colorado proudly
provides to all: any Coloradan can testify at the legislature on proposed legislation, can submit comments and testify
on proposed regulations, and can vote on constitutional or statutory changes that go directly to the people as ballot
measures. A document exempting a party from an applicable law would be a change to that law, but opinion/exemption
letters underwent none of the mandatory processes that Colorado law requires to change a law. As the United States
Supreme Court noted two centuries ago, in ruling that an executive official cannot declare an enacted law inapplicable
to a particular party, we are “a government of laws, and not of men.”

       2.     Some opinion/exemption letters opined not that the recipient warrants a new exemption, but that the
recipient is entitled to an exemption under existing law. Recipients likely found those letters to be informative opinions
on whether they could prevail in claiming exemptions. But those letters were not binding determinations with legal
effect. All such letters came before 2015, when the Division first gained authority to issue binding adjudication
decisions under the Wage Protection Act of 2014. Even if the pre-2015 Division had such authority, opinion/exemption
letters still could not be binding decisions, because they would have been rulings ex parte—for one party, without
notice to, or a chance to hear from, others with potentially differing interests. Any party asking for a wage law
opinion/exemption letter has another party with differing interests in mind—an employer questioning whether it must
pay an employee certain wages, or an employee questioning whether an employer must pay certain wages. A binding
determination of parties’ obligations to each other requires not just a response to a one -party request, but a fair
adjudication: notice to all interested parties of the claims and defenses; opportunity for all to be heard; notice to all of
any decision; and a right to appeal.

        3.     Some opinion/exemption letters, without opining about exemptions, offered the recipient an interpretation
of existing law. Recipients likely found those letters to be informative opinions on the views of the Division at the time.
But those letters were not binding determinations with legal effect. In conveying these opinions only in letters, the
Division never purported to issue them as proposed rule changes with the public disclosure, notice, and opportunity to
be heard that are required for interpretations to become binding rules. In addition to being non-binding, the opinions
contained in such letters have been overtaken by the passage of time. Even those that are not a decade or two old are
still at least five years old, so all predate significant changes to Colorado wage law: the creation of the Division’s entire
complaint and investigation process under the Wage Protection Act of 2014; several new laws in the ensuing years that
changed many wage rights and obligations; numerous rulings by Colorado courts and Division Hearing Officers; and
Division policy changes since all opinion/exemption letters were issued multiple Division administrations ago.

      4.     For the above reasons, all prior opinion/exemption letters of any kind from the Division—whether viewed
as granting new exemptions, as declaring parties entitled to exemptions, or as offering other opinions or
interpretations—were never binding. As non-binding opinions, they cannot be viewed as remaining in effect so many
years later. To avoid potential confusion as to any of the above, all such letters are now rescinded.
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       5.    For the same reasons, the Division’s Advisory Bulletins and Resource Guide (ABRG) is no longer operative
as reflecting Division opinions, interpretations, or rulings. The ABRG properly noted that it was “for informational
purposes only,” was “not intended to expand, narrow, or contradict current law,” was not “legal advice,” “and should
not be relied upon as an official record of action or law.” Though a longtime useful resource, the ABRG was last
updated in 2012, so it precedes the many changes to wage law and policy noted above. Unlike opinion/exemption
letters, however, the ABRG has been available on the Division website for public use. To avoid a potentially confusing
sudden withdrawal of a resource that has continued to be used recently, the ABRG will remain on the Division website
through at least January 1, 2020.
       6.    The Division will continue its practice of no longer issuing opinion/exemption letters. The United States
Department of Labor (USDOL) offers opinion letters, but with an official process for requests, open publication of all
responses, and express admonitions that they are non-binding: “The requirements of the Fair Labor Standards Act … are
set by statutes and regulations…. Opinion letters serve as a means by which the public can develop a clearer understanding
of what … compliance entails.” Though an opinion letter process of that sort can be useful, the Division cannot offer
individualized letters. Unlike the USDOL, the Division investigates, decides, and hears appeals on the majority of wage
law disputes filed in its jurisdiction. The Division has worked hard to avoid backlogs, offering employers and employees
timely investigations, followed by detailed written determinations and a prompt appeals process. To keep efficiently
performing that core, legally mandated duty, the Division must minimize other individualized endeavors.
      7.   While not offering individualized letters, the Division will continue offering multiple options to Coloradans
seeking guidance, or requesting interpretations, of any labor laws the Division administers.
            • Any Coloradan with an individualized question can contact the Division’s Call Center (303-318-8441),
              which functions much like opinion letters did, but reaches far more Coloradans and offers far more
              immediate responses. Each year, thousands of Coloradans, employers and employees alike, call with
              questions, and the Center responds with non-binding guidance that is immediate, well-informed, and
              typically well-received and appreciated by callers.
            • In lieu of rewriting one combined Advisory Bulletins and Resource Guide, the Division is posting a series
              of “Fact Sheets,” each addressing common labor law inquiries by employers, employees, and other
              stakeholders. As the pool of Fact Sheets expands, it will be organized so that Coloradans can easily find
              any particular topics on which they need guidance—or can download all at once, essentially replicating
              the one combined document we now have. The Division believes Fact Sheets will be more useful than
              individualized private letters, because they will be posted publicly and will not be limited to the facts of
              one workplace or requester. Because the Division will continue posting and updating Fact Sheets, any
              Coloradan can suggest a Fact Sheet topic by emailing cdle_labor_standards@state.co.us.
            • In recent years, the Division has held numerous outreach events at which expert officials offer labor law
              guidance. Those events have been popular with employers and employees alike, so the Division will
              continue holding them. Anyone interested in learning about or suggesting future events is welcome to
              contact the Division.
            • Any Coloradan may submit comments, and/or testify in person, about any proposals for new regulations
              or for changes to regulations—and, in doing so, may suggest that the Division adopt alternative
              regulations or interpretations.
      The Division believes that through these multiple options, it will continue serving Coloradans well, with high -
quality labor law guidance and with access for mutually informative exchanges of ideas with the Division. And the
Division is always open to improvements in its services and processes, which any Coloradan may submit to
cdle_labor_standards@state.co.us.


      Scott Moss
      Director
      Division of Labor Standards and Statistics, Colorado Department of Labor and Employment
      June 24, 2019
